Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 1 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 2 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 3 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 4 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 5 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 6 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 7 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 8 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 9 of 57
18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page
se 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 11 of
ase 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 12 of 5
e 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 13 o
3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 14
3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 15
:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 1
3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 17
ase 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 18 of
ase 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 19 of 5
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 20 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 21 of 57
se 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 22 o
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 23 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 24 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 25 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 26 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 27 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 28 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 29 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 30 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 31 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 32 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 33 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 34 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 35 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 36 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 37 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 38 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 39 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 40 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 41 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 42 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 43 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 44 of 57
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 45 of 57
3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 46
8-cv-00957-SRU Document 42-1 Filed 09/08/18 Page
3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 48
se 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 49 of
3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 50
e 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 51 o
Case 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 52 of 57
e 3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 53 o
18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 5
3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 55
3:18-cv-00957-SRU Document 42-1 Filed 09/08/18 Page 56
-cv-00957-SRU Document 42-1 Filed 09/08/18 Pag
